             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KAYLEE MCWILLIAMS,                           No. 4:20-CV-01236
individually and on behalf of all others
similarly situated,                          (Chief Judge Brann)

                  Plaintiff,

      v.

GEISINGER HEALTH PLAN, and
SOCRATES, INC.,

                  Defendants.

                                     ORDER

                                FEBRUARY 8, 2023

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

     1.     Defendants’ motion for summary judgment (Doc. 86) is GRANTED.

     2.     Judgment is entered in Defendants’ favor on Count VII of Plaintiff

            Kaylee McWilliams Second Amended Complaint.

     3.     The Clerk of the Court is directed to CLOSE this case.


                                           BY THE COURT:


                                           s/ Matthew W. Brann
                                           Matthew W. Brann
                                           Chief United States District Judge
